Filed 8/21/24 Smith v. Sonoma Valley Health Care Dist. CA1/3
                  NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication or
ordered published for purposes of rule 8.1115.


          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      FIRST APPELLATE DISTRICT

                                                DIVISION THREE




    DEBRA LINN SMITH,
                                                                        A168045
           Plaintiff and Appellant,
    v.                                                                  (Sonoma County Super. Ct.
                                                                        No. SCV269916)
    SONOMA VALLEY HEALTH CARE
    DISTRICT, et al.,
           Defendants and Respondents.


         The trial court sustained a demurrer to plaintiff Debra Linn Smith’s
complaint without leave to amend. On appeal, plaintiff contends the court
erroneously found her claims under the Confidentiality of Medical
Information Act (Civ. Code, § 56 et seq.1; CMIA) were barred due to a six-
month deadline for presenting a claim under the Government Claims Act
(Gov. Code, § 810 et seq.). We affirm.
                            FACTUAL AND PROCEDURAL BACKGROUND
         Plaintiff sued her former employer, the Sonoma Valley Health Care
District doing business as the Sonoma Valley Hospital (“the hospital”) and



1     Unless otherwise specified, all undesignated statutory references are to
the Civil Code.
Meghan Healy, who works for the hospital’s human resources department, as
well as the Sonoma Valley Hospital Foundation and Lynn McKissock, who
works for the foundation’s human resources department (collectively,
defendants).
      The first amended complaint (the complaint) alleged the following:
Plaintiff was a surgery scheduling coordinator for the hospital for over 20
years. In August 2021, Healy emailed plaintiff seeking information
regarding her COVID-19 vaccination status. Healy told plaintiff that she
needed to fill out a form if she was declining to provide the information, and
that plaintiff could direct any questions to McKissock. In September 2021,
plaintiff informed McKissock by email that she did not consent to releasing
her medical information and that she wanted the hospital to cease all
inquiries into her medical information. McKissock responded that hospital
policy required testing of unvaccinated employees as a condition of
employment, that this policy applied to plaintiff, and that plaintiff was
prohibited from working until she could show a negative test result.
McKissock informed plaintiff—who made clear she would not be tested—that
she was immediately placed on unpaid leave until she complied with the
policy. Plaintiff emailed McKissock and reiterated that she would not be
tested for COVID-19 and that the hospital should stop asking her for medical
information. On September 28, 2021, McKissock informed plaintiff the
hospital was terminating her employment due to her failure to comply with
the COVID-19 testing policy. Plaintiff allegedly suffered “tremendous
financial detriment due to the termination.”
      Plaintiff’s complaint set out two causes of action under the CMIA. Her
first cause of action alleged the hospital and its agents discriminated against
her by terminating her employment based on her refusal to release her


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medical information. (§ 56.20, subd. (b).) Her second cause of action alleged
defendants violated the CMIA by terminating her based on her medical
history and her being “unvaccinated.” (See § 56.20, subd. (c).) The complaint
also included a third cause of action for fraud, based on allegations that
McKissock and Healy made false representations concerning the legality of
the hospital’s policies and actions. Plaintiff specifically alleged she submitted
a claim under the Government Claims Act on May 6, 2022.
      Defendants filed a demurrer. As relevant here, defendants contended
the complaint alleged causes of action for “injury to a person or to personal
property,”2 which were barred because plaintiff failed to timely present a
government claim within six months from the date of the alleged injury, as
required by Government Code section 911.2. That is, plaintiff suffered her
alleged injury when she was terminated on September 28, 2021, so the six-
month period expired on March 28, 2022 and rendered the submission of her
government claim on May 6, 2022 untimely.
      The trial court sustained the demurrer without leave to amend. The
court found all causes of action were barred under Government Code
section 911.2 because plaintiff failed to present her claim to defendants
within six months of accrual. The court further found that all causes of
action were barred under Government Code section 945.4 because plaintiff
failed to present a written claim to the hospital prior to filing her lawsuit.
Plaintiff appealed.3

2     The demurrer also contended that the Sonoma Valley Hospital
Foundation was not a proper party to the action, and that the CMIA causes of
action could only be pursued against the hospital, not McKissock and Healy.
We will not discuss these aspects of the demurrer because they have not been
raised on appeal.
3    An order sustaining a demurrer without leave to amend is not
appealable; any appeal must be taken from the subsequent judgment of
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                                  DISCUSSION
      As indicated, the trial court sustained defendants’ demurrer without
leave to amend on two alternative grounds—(1) failure to present a claim
before expiration of the six-month claims presentation period (Gov. Code,
§ 911.2) and (2) failure to submit her claim to the hospital before filing her
lawsuit (id., § 945.4). Plaintiff’s opening brief, however, only challenges the
trial court’s application of the six-month claims presentation period.
Contending that her causes of action under section 56.20, subdivisions (b)
and (c), were statutory, she argues the court should instead have applied the
twelve-month claims presentation period provided under Government Code
section 911.2. We disagree.
      Government Code section 911.2 requires that a plaintiff timely present
a claim for money or damages to the public entity as a condition precedent to
the filing of a lawsuit against the entity. (California Restaurant Management
Systems v. City of San Diego (2011) 195 Cal.App.4th 1581, 1591.) “A claim

dismissal. (Meinhardt v. City of Sunnyvale (July 29, 2024, S274147) ___
Cal.5th ___ [p. 8] [2024 Cal. Lexis 4143].) Here, plaintiff’s notice of appeal
purports to appeal from a judgment of dismissal after an order sustaining a
demurrer, and states that judgment was entered on May 10, 2023. But no
judgment dated May 10, 2023 appears in the record. Instead, the record
contains an order file stamped May 8, 2023 sustaining defendants’ demurrer
to the first amended complaint.
      Nevertheless, “[t]he fact that no judgment of dismissal was entered on
the order sustaining the demurrer does not present an insurmountable
obstacle to the appeal.” (Shepardson v. McLellan (1963) 59 Cal.2d 83, 88.) It
would be inefficient to dismiss the appeal, order the trial court to enter
judgments of dismissal on the sustained demurrers, and then permit a
subsequent appeal from the dismissals. (Ibid.) Instead, as the parties treat
the appeal as properly before us, we deem each “order sustaining [the]
demurrer to incorporate a judgment of dismissal and interpret[ ] plaintiff’s
notice of appeal as applying to such dismissal.” (Federer v. County of
Sacramento (1983) 141 Cal.App.3d 184, 185; Meinhardt v. City of Sunnyvale,
supra, ___ Cal.5th ___ [pp. 10–11].)
                                        4
relating to a cause of action for death or for injury to person or to personal
property . . . shall be presented . . . not later than six months after the accrual
of the cause of action. A claim relating to any other cause of action shall be
presented . . . not later than one year after the accrual of the cause of action.”
(Gov. Code, § 911.2, subd. (a).)
      Courts have interpreted Government Code section 911.2,
subdivision (a), as applying the six-month presentation deadline to tort
claims, and the twelve-month deadline to non-tort claims. (See, e.g., Voth v.
Wasco Public Util. Dist. (1976) 56 Cal.App.3d 353, 356 (Voth) [“statutory
language clearly indicates that the [six-month] clause covers tort claims
only”].) Whether an action “is contractual or tortious depends upon the
nature of the right sued upon, and not the form of the pleading or the relief
demanded. [Citations.] If the action is based on a breach of a promise, it is
contractual; if it is based on a breach of a noncontractual duty, it is in tort.
[¶] If the breach is both contractual and tortious, we must ascertain which
duty is the quintessence of the action.” (Ibid.)
      In addition to asserting a tort action for fraud, plaintiff alleges two
causes of action under the CMIA. As one court recently summarized, the
CMIA “ ‘is intended to protect the confidentiality of individually identifiable
medical information obtained from a patient by a health care provider, while
at the same time setting forth limited circumstances in which the release of
such information to specified entities or individuals is permissible.’
[Citation.] [¶] The CMIA mostly governs disclosures of patient medical
information by health care providers, but one chapter governs the use and
disclosure of employee medical information by employers. [Citation.] The
substantive employer prohibitions—and their relevant exceptions—are found




                                         5
in the four subdivisions under section 56.20.” (Rossi v. Sequoia Union
Elementary School (2023) 94 Cal.App.5th 974, 986 (Rossi).)
      Section 56.20, subdivision (b), creates a cause of action for
discrimination, while subdivision (c) creates a cause of action for
unauthorized use or disclosure of medical information. (Rossi, supra, 94
Cal.App.5th at p. 993, fn. 12.) Section 56.20, subdivision (b), provides: “No
employee shall be discriminated against in terms or conditions of
employment due to that employee’s refusal to sign an authorization under
this part [for disclosure of medical information]. However, nothing in this
section shall prohibit an employer from taking such action as is necessary in
the absence of medical information due to an employee’s refusal to sign an
authorization under this part.” (§ 56.20, subd. (b); see Rossi, at p. 987.)
      Meanwhile, section 56.20, subdivision (c), provides: “No employer shall
use, disclose, or knowingly permit its employees or agents to use or disclose
medical information which the employer possesses pertaining to its
employees without the patient having first signed an authorization under
Section 56.11 or Section 56.21 permitting such use or disclosure, except as
follows: [¶] (1) The information may be disclosed if the disclosure is
compelled by judicial or administrative process or by any other specific
provision of law. [¶] (2) That part of the information which is relevant in a
lawsuit, arbitration, grievance, or other claim or challenge to which the
employer and employee are parties and in which the patient has placed in
issue his or her medical history, mental or physical condition, or treatment
may be used or disclosed in connection with that proceeding. [¶] (3) The
information may be used only for the purpose of administering and
maintaining employee benefit plans, including health care plans and plans
providing short-term and long-term disability income, workers’ compensation


                                        6
and for determining eligibility for paid and unpaid leave from work for
medical reasons. [¶] (4) The information may be disclosed to a provider of
health care or other health care professional or facility to aid the diagnosis or
treatment of the patient, where the patient or other person specified in
subdivision (c) of Section 56.21 is unable to authorize the disclosure.”
      Plaintiff contends the six-month period for presenting a claim under
Government Code section 911.2 does not apply to her CMIA claims because
they “are not claims for death or personal injury or property” but instead are
claims for “a statutory violation.” But the mere fact that a claim against a
public entity alleges a statutory violation is not determinative. Indeed, as
the California Supreme Court has explained, “[u]nder the Government
Claims Act . . . there is no common law tort liability for public entities in
California; instead, such liability must be based on statute.” (Guzman v.
County of Monterey (2009) 46 Cal.4th 887, 897, italics added.) Consequently,
the question we must focus on is whether the CMIA claims sound in tort.
(Voth, supra, 56 Cal.App.3d at p. 356; see, e.g., Jones v. Kelly (1929) 208 Cal.
251, 254–255 [cause of action based on landlord’s unexpected and malicious
stoppage of water supply to leased premises arose independently of the
contract pursuant to the duty imposed under Civil Code section 1708 and
sounded in tort].)
      Though not dispositive, plaintiff’s complaint explicitly recognizes that
the CMIA created a tort, alleging: “[T]he California legislature sought to
protect every California citizen’s individual right to privacy by creating a tort
under which a defendant can be sued for damages. Specifically, California
prohibited employers from punishing their employees for failing to disclose
medical information by passing the [CMIA].” (Italics added.) This allegation,
however, aligns with authorities recognizing that claims regarding privacy


                                        7
are tort-based. (See, e.g., Moreno v. Hanford Sentinel, Inc. (2009) 172
Cal.App.4th 1125, 1129 [“The right to privacy tort was recognized in 1890
based on the trend in tort law to extend protection to ‘ “the right of
determining, ordinarily, to what extent [a person’s] thoughts, sentiments,
and emotions shall be communicated to others,” ’ ” thereby protecting one’s
“ ‘ “right ‘to be let alone’ ” ’ ”]; McNair v. City and County of San Francisco
(2016) 5 Cal.App.5th 1154, 1160 [claim for disclosure of medical information
in violation of the CMIA referred to as an “intentional tort cause of action”].)
      Indeed, the CMIA contemplates that a plaintiff must show economic
loss or personal injury from a violation of its terms. Here, plaintiff’s
complaint requested damages pursuant to section 56.35, which provides that
“a patient whose medical information has been used or disclosed in violation
of Section . . . 56.20 . . . and who has sustained economic loss or personal
injury therefrom may recover compensatory damages . . . .” (Italics added.)
That plaintiff must demonstrate “economic loss or personal injury” to
establish a claim under the CMIA supports the applicability of Government
Code section 911.2, subdivision (a)’s six-month deadline for “injury to person
or property.” So does Government Code section 810.8, which, as the trial
court noted, defines “injury” as “death, injury to a person, damage to or loss of
property, or any other injury that a person may suffer to his person,
reputation, character, feelings or estate, of such nature that it would be
actionable if inflicted by a private person.”
      Plaintiff’s reliance on Murray v. Oceanside Unified School District
(2000) 79 Cal.App.4th 1338 is misplaced. In Murray, the trial court found the
plaintiff’s sexual orientation discrimination claim barred because it was not
based on evidence within “six months before the first government tort claim
was filed.” (Murray, at pp. 1344, 1346.) The Court of Appeal disagreed.


                                         8
Murray started by observing that actions brought under the Fair
Employment and Housing Act (FEHA) were exempt from the general claims
presentation requirements of the Tort Claims Act because FEHA had its own
specific time limitations for processing claims, including a one-year period for
commencing a civil action, and a one-year period for filing an administrative
complaint. (Murray, at p. 1360.) Upon determining that then-recent
amendments to FEHA operated retroactively to embrace the plaintiff’s
particular discrimination claim, Murray concluded the plaintiff’s claim was
not barred by the six-month presentation requirement of the Tort Claims Act.
(Murray, at pp. 1360–1361.) Murray is inapposite, as the CMIA does not
specify its own time limitations or process for bringing a lawsuit and plaintiff
offers no authority placing CMIA claims within FEHA’s statutory framework.
      Plaintiff’s reliance on Loder v. City of Glendale (1997) 14 Cal.4th 846(Loder)—apparently as a basis for viewing her CMIA claims as somehow
contractual instead of tortious in nature—fares no better. Citing Loder,
plaintiff essentially posits that the CMIA distinguishes between (a) those
seeking to become employees or employees seeking a promotion, and
(b) employees whose employers seek to change the terms and conditions of
employment by imposing a mandatory drug testing requirement, and that the
CMIA’s protection of those in category (b) but failure to protect those in
category (a) “arises from principles of contract.”
      Plaintiff, however, fails to provide any pinpoint citations supporting
this reading of Loder. We have considered the decision and observe that in
addressing whether a city’s drug testing program violated section 56.20,
subdivision (b), of the CMIA, the lead opinion in Loder did in fact conclude
that “section 56.20, subdivision (b), cannot reasonably be interpreted to
regulate the circumstances under which an employer may require job


                                        9
applicants or current employees to submit to a medical examination or drug
test.” (Loder, supra, 14 Cal.4th at pp. 862, 865.) But contrary to plaintiff’s
suggestion, the court did not rely on or even mention contract principles in
explaining its holding.
      In sum, plaintiff was required to submit her government claims within
six months of her termination. Her failure to do so bars her complaint. (See
Gov. Code, §§ 911.2, subd. (a), 945.4.)
      Before closing, we reiterate that the trial court sustained defendants’
demurrer to all causes of action on the alternative and independent ground
that plaintiff failed to submit her claims to the hospital prior to filing her
lawsuit as required by Government Code section 945.4.
      Plaintiff’s opening brief on appeal did not challenge the trial court’s
ruling on this point. Though plaintiff belatedly addresses the matter in her
reply brief, suggesting it would elevate form over substance to prohibit her
from complying with the claim presentation requirement by filing an
amended complaint, this argument comes too late. (Benach v. County of Los
Angeles (2007) 149 Cal.App.4th 836, 852, fn. 10.) “As a general rule, points
not addressed until a reply brief will not be considered unless good reason is
shown for failing to address them earlier.” (Ibid.) Even under the de novo
standard applicable to the review of an order sustaining a demurrer, our
review “ ‘is limited to issues which have been adequately raised and
supported in [an appellant’s opening] brief.’ ” (WA Southwest 2, LLC v. First
American Title Ins. Co. (2015) 240 Cal.App.4th 148, 155.) Plaintiff fails to
show good cause for not raising this issue in her opening brief, and so it is
forfeited. Accordingly, the order sustaining the demurrer without leave to
amend is properly affirmed on this independent ground.




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                                                 DISPOSITION
         The judgment is affirmed. Defendant Sonoma Valley Health Care
District is entitled to recover costs on appeal. (Cal. Rules of Court,
rule 8.278(a).)


                                                        _________________________
                                                        Fujisaki, J.


WE CONCUR:


_________________________
Tucher, P. J.


_________________________
Rodríguez, J.




Smith v. Sonoma Valley Health Care District (A168045)



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